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|TENTH COURT OF APPEALS                                                                  |
|                    |                                             |                     |
|Chief Justice       |McLennan County Courthouse                   |                     |
|Tom Gray            |501 Washington Avenue, Rm 415                |                     |
|                    |Waco, Texas 76701-1373                       |Clerk                |
|Justice             |Phone: (254) 757-5200              Fax: (254)|Sharri Roessler      |
|Rex D. Davis        |757-2822                                     |                     |
|Al Scoggins         |                                             |                     |

                              October 22, 2015






             In accordance with the enclosed Memorandum  Opinion,  below  is
        the judgment in the numbered cause set out herein to be  entered  in
        the Minutes of this Court as of the 22nd day of October, 2015.


        10-15-00195-CV IN THE INTEREST OF J.W., M.S., O.S., T.S.,  AND K.S.,
                         CHILDREN - ON APPEAL FROM THE 414TH DISTRICT  COURT
                         OF MCLENNAN COUNTY - TRIAL COURT NO.  2014-154-5  –
                         AFFIRMED - Memorandum Opinion by Justice Scoggins:


             “This cause came on to  be  heard  on  the  transcript  of  the
        record, and the same being considered, because it is the opinion  of
        this Court that there was no error in  the  judgment  of  the  court
        below; it is  therefore  ordered,  adjudged  and  decreed  that  the
        judgment of the court below be, and  hereby  is,  affirmed.   It  is
        further ordered that costs of appeal be, and  hereby  are,  adjudged
        against Appellant William Webb although he is  exempt  from  payment
        due to his affidavit of  inability  to  pay  costs,  and  that  this
        decision be certified below for observance.”
